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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

ALLSTATE INSURANCE COMPANY,
An lilinois Corporation,

Petitioner,

VS. CASE NO.: 8:08-cv-02253-VMC-EAJ

ROBERT M. LEVESQUE,

DOLORES LEVESQUE, BLANCA MICHAELS,
And ANDREW'S FLORIST on 4" STREET, INC.,
A dissolved Florida Corporation, a/k/a
ANDREW'S FLORIST ON 4" STREET

NORTH ING., and ANDREW'S on 4" ST. INC.,

Respondents.
/

RESPONDENTS’ REQUEST FOR COPIES

Respondents, BLANCA MICHAELS and ANDREW'S FLORIST ON 4" STREET,
INC., by and through their undersigned attomeys, direct Petitioner, ALLSTATE
INSURANCE COMPANY to provide legible copies of each and every document
received pursuant to their Subpoena to Produce Documents Pursuant to Federal Rule
of Civi Procedure 45 (c), (d), and (e) dated October 12, 2009 and Subpoenas Duces

Tecum directed to:

> James A. Haley Veterans Hospital
> Bay Pines VA Medical Center
> Tidewell Hospice and Palliative Care

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that a copy of the following was served via U.S. Mail to
Michael T. Callahan, Esquire and Weslee Leigh Klinka Ferron, Esquire, Callahan &
Martinez, L.L.C., 2935 First Avenue North, Second Floor, St. Petersburg, Florida 33713
 

and Jason Mullholland, Esquire, 13902 North Dale Mabry Highway, Suite 183, Tampa,
Florida 33618 on this AN day of October, 2009.

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* ELIZABETH ZWIBEL

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